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WESTERN DISTRICT 0F TENNESSE§EUG '3 m 8' 53

 

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BARBAR.A HANNAH JUDGMENT IN A CIVIL CASE

VS

GLAXOSMITHKLINE, PLC,
SMITHKLINE BEECHAM CORPOR.ATION,
and GLAXO WELLCOME, INC. CASE NO: 01-2920 Ml

 

Upon agreement of the parties:

IT IS SO ORDERED AND ADJUDGED that, in accordance with the Agreed
Order of Dismissal filed August, 2-, 2005, this case is DISMISSED
with prejudice. Each party shall bear its own costs.

AP PROVED :

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Date(d) Clerk of Court

 

 

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This notice confirms a copy of the document docketed as number 16 in
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ESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

